            Case 1:22-cr-10038-IT Document 176 Filed 03/01/24 Page 1 of 1
                          UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                     CLERK’S CERTIFICATE AND APPEALS COVER SHEET

                               ABBREVIATED ELECTRONIC RECORD


Case Caption:                     United States of Ameroca v. Ariel Legassa
                                  __________________________________________________________

District Court Number:            22cr10038-IT
                                  __________________________________________________________


Fee:    Paid?                 X
                 Yes ____ No ____ Government filer ____ In Forma Pauperis Yes ____ No ____


Motions Pending                        X
                          Yes ____ No ____                  Sealed documents                X No ____
                                                                                     Yes ____
If yes, document #        _______________                   If yes, document #       26,48,64,65,66,72,174
                                                                                     _______________

Ex parte documents              X No ____
                          Yes ____                          Transcripts                    X No ____
                                                                                     Yes ____
If yes, document #        90,91,94,96
                          _______________                   If yes, document #       132,140-144
                                                                                     _______________



Notice of Appeal filed by: Plaintiff/Petitioner ____                         X
                                                       Defendant/Respondent ____ Other: ____

Appeal from:
#173 Judgment, #175 Amended Judgment
Other information:




        I, Robert M. Farrell, Clerk of the United States District Court for the District of Massachusetts, do
hereby certify that the annexed electronic documents:

#168, #173, and #175
with the electronic docket sheet, constitute the abbreviated record on appeal in the above entitled case for
the Notice of Appeal # ________
                         168       filed on__________________.
                                            February 28, 2024


                                                                                          March 1 ,2024
        In testimony whereof, I hereunto set my hand and affix the seal of this Court on _____________.



                                                            ROBERT M. FARRELL
                                                            Clerk of Court


                                                            /s/Matthew A. Paine
                                                            ____________________________
                                                            Deputy Clerk




                           PLEASE RETURN TO THE USDC CLERK’S OFFICE
